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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

IN RE:                                               )
                                                     )
CHARLES PAUL JONES                                   ) CASE NO. 15-07000-JJG-7A
ROBIN LYNNE JONES                                    )
                                                     )
                        DEBTORS.                     )

                                 TRUSTEE’S REPORT OF SALE

         Comes now the Trustee, Randall L. Woodruff, by counsel, and in support of this Report

of Sale, respectfully shows the Court as follows:

         1.      The Trustee is the duly qualified and acting Trustee in the above-noted

bankruptcy case.

         2.      On January 25, 2018, the Trustee filed his Motion to Sell Debtors’ Interest in

Condominium (located in Puerto Vallarta, Jalisco, Mexico) at Private Sale Free and Clear of

Liens, Encumbrances, Claims and Interests [Doc 30].

         3.      The Court approved the sale of the assets at auction in its order of February 20,

2018 [Doc 33] (“Sale Order”).

         4.      The sale was completed on May 13, 2019, realizing gross proceeds of $50,000.00.

Attached hereto and made a part hereof as Exhibit “A” see the settlement statement reflecting the

sale results, leaving a net amount to the estate of $11,769.25.

         5.      The sale was reasonable in the premises, and another sale would not bring a

greater value.
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                                                         RUBIN & LEVIN, P.C.

                                                         Attorneys for Trustee

                                                         By: /s/James T. Young
                                                         James T. Young, Atty. No. 13834-71
                                                         RUBIN & LEVIN, P.C.
                                                         135 N. Pennsylvania St., Ste. 1400
                                                         Indianapolis, IN 46204
                                                         317/634-0300; FAX 317/453-8613
                                                         james@rubin-levin.net


                                          CERTIFICATE OF SERVICE

        I hereby certify that on May 29, 2019, a copy of the foregoing document was filed
electronically. Notice of this filing will be sent to the following parties through the Court’s
Electronic Case Filing System. Parties may access this filing through the Court’s system.

United States Trustee                                    ustpregion10.in.ecf@usdoj.gov
Randall L. Woodruff                                      rlwtrustee@comcast.net
James D. Gillespie                                       jamgilcw@yahoo.com

         I further certify that on May 29, 2019, a copy of the foregoing document was mailed by
first-class U.S. Mail, postage prepaid, or via electronic transmission by this office, and properly
addressed to the following:

N/A

                                                         /s/ James T. Young
                                                         James T. Young
JTY/llk
G:\WP80\TRUSTEE\Woodruff\Jones, Charles & Robin - 86142001\RptSale.wpd
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